                   UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
                       v.                      )
                                               )                  3:12-CR-239
STEVEN JONES (7)                               )
                                               )

                                          ORDER

        THIS MATTER is before the Court on Defendant’s Unopposed Motion to

Continue Trial (Doc. No. 518) and Motion to Amend/Correct (Doc. No. 519). In light of

Defendant’s motion, the Court will conduct a status conference on Tuesday March 4,

2014 at 11 a.m. in order to set a new trial date and coordinate other pre-trial matters in

this case. In advance of the conference and the setting of a new trial date, the Court will

suspend the pre-trial filing deadlines previously set in this matter as to Defendant Jones.

        IT IS THEREFORE ORDERED that Defendant’s Motion to Amend/Correct

(Doc. No. 519) is GRANTED.

        IT IS FURTHER ORDERED that the parties shall convene for a status

conference on Tuesday March 4, 2014 at 11 a.m. in Courtroom 3. All pre-trial

deadlines in this matter as to Defendant Jones are suspended and will be re-set at a later

date.

SO ORDERED.
                                     Signed: February 21, 2014




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